
340 So.2d 123 (1976)
STATE of Florida DEPARTMENT OF HEALTH AND REHABILITATIVE SERVICES, HEALTH PROGRAM OFFICE, successor to Division of Health, Bureau of Vital Statistics, Appellant,
v.
Betty Patricia MULLARKEY, Formerly Betty Patricia Berkowitz, Appellee.
No. AA-182.
District Court of Appeal of Florida, First District.
December 14, 1976.
Rehearing Denied March 10, 1977.
*124 Robert M. Eisenberg, Chief Counsel and Barbara Dell McPherson, Jacksonville, for appellant.
No appearance for appellee.
SMITH, Judge.
The Department of Health and Rehabilitative Services appeals from a circuit court order directing the Department, at the instance of appellee, to furnish her a copy of her original birth certificate showing the names of her natural parents. When a final decree of appellee's adoption was entered, the State registrar made and substituted for the original a new birth certificate bearing the names of the adoptive parents, as required by § 382.21(1), F.S. All records pertaining to the adoption have remained sealed and subject to inspection only on court order. Sec. 63.162, F.S.
The Department does not resist appellee's wish to receive a copy of her original birth certificate, but urges that the trial court erred in failing to appoint an attorney ad litem for the natural parents, who may wish to preserve the confidentiality of their identity. While there may be compelling reasons supporting the Department's position, the legislature nevertheless has explicitly required the Department to furnish the original birth certificate and all papers pertaining thereto "at the instance and request of the person whose birth is the subject of the said certificate of birth." Sec. 382.22, F.S. 1975.
AFFIRMED.
MILLS, Acting C.J., and DRURY, ARVEL, Associate Judge, concur.
